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                                  Sincerely,

KEKER, VAN NEST &        LATHAM & WATKINS LLP             MORRISON & FOERSTER
PETERS LLP                                                LLP
                         /s/ Elana Nightingale
/s/ Sarah Salomon        Dawson                           /s/ Rose S. Lee
Sarah Salomon             Elana Nightingale Dawson        Rose S. Lee




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